     Case 8:23-ap-01046-SC     Doc 333 Filed 01/16/24 Entered 01/16/24 14:28:15              Desc
                                 Main Document Page 1 of 3



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                                                                   CLERK U.S. BANKRUPTCY COURT
                                                                   Central District of California
6                                                                  BY bolte      DEPUTY CLERK


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8                          UNITED STATES BANKRUPTCY COURT

9               CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION

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     In re:                                     CHAPTER 11
11
     The Litigation Practice Group P.C.         Case No.: 8:23-bk-10571-SC
12                                              Adv No: 8:23-ap-01046-SC
13                                             ORDER (1) CONTINUING MOTION OF
                                               GREYSON LAW CENTER PC TO VACATE
14                                  Debtor(s).
                                               5/26/23 LOCKOUT AND PRELIMINARY
15                                             INJUNCTION ORDER AS TO GREYSON
                                               LAW. ORDER TRUSTEE ATTY CELENTINO
16                                             TO RETURN ALL GREYSON’S SEIZED
17                                             PROPERTY, AND ORDER CELENTINO TO
                                               IMMEDIATELY RESTORE GREYSON’S
18                                             ACCESS TO ALL GREYSON LAW PC [DK.
                                               290]; (2) ESTABLISHING BRIEFING
19                                             SCHEDULE; AND (3) DENYING TRUSTEE’S
20                                             EX PARTE MOTION TO STRIKE [DK. 331]

21   Richard A. Marshack, Ch 7 Trustee,           Vacated Hearing:
                                                  Date:      January 17, 2024
22                                  Plaintiff(s), Time:      11:00 AM
          v.                                      Courtroom: 5C
23
                                               Continued Hearing:
24   Tony Diab, et al.,                        Date:      February 28, 2024
                                 Defendant(s). Time:      11:00 AM
25                                             Courtroom: 5C
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                                              -1-
     Case 8:23-ap-01046-SC      Doc 333 Filed 01/16/24 Entered 01/16/24 14:28:15           Desc
                                  Main Document Page 2 of 3



1           By an order entered December 7, 2023 [Dk 293] (“Scheduling Order”), the Court
2    set a hearing on the Motion of Greyson Law Center PC to Vacate 5/26/23 Lockout and
3    Preliminary Injunction Order as to Greyson Law, Order Trustee ATTY Celentino to
4    Return All Greyson’s Seized Property, and Order Celentino to Immediately Restore
5    Greyson’s Access to All Greyson Law PC [Dk. 290] (“Motion”).
6           Significant pleadings and exhibits have been filed with the Court after the
7    Scheduling Order was entered, including but not limited to certain evidentiary objections
8    and requests to strike portions of declarations (“January 12 Pleadings”). These
9    objections include Docket Numbers 328 and 329, which raise relevant legal issues with
10   respect to the various requests by Movant, Greyson Law Center PC, to exclude
11   testimony. Further, Greyson Law Center PC has submitted a declaration of Han Trinh
12   [Dk. 330], supplementing the record. Each of these pleadings were filed on Friday,
13   January 12, 2024, after 7:00 p.m., and Monday, January 15, 2024, was a federal
14   holiday; therefore, the Court has not had sufficient time to consider the arguments and
15   testimony (involving Dk. 330) contained in the pleadings. Further, the Court would like
16   further briefing on the issues raised by Greyson Law Center PC with respect to any
17   legal authority to exclude evidence as requested by Movant.
18          In order to properly manage its caseload and docket, as well as to provide
19   complete due process to all parties, the Court hereby CONTINUES the Motion until
20   February 28, 2024, at 11:00 am. Greyson Law Center PC shall file and serve all further
21   legal briefing and support with respect to their evidentiary objections contained in Dks.
22   328 and 329 by January 30, 2024. The Trustee is provided an additional 14 days to
23   respond to the evidentiary objections and legal support presented by Greyson Law
24   Center PC (due on or before February 13, 2024), and Greyson shall have an additional
25   7 days thereafter (due on or before February 20, 2024) to reply. No further briefing shall
26   be submitted following these deadlines without further Court order.
27          Additionally, on January 15, 2024, the Trustee, in response to the January 12
28   Pleadings, filed an Ex Parte Application to Strike: 1) Greyson Law Center PC’s




                                                 -2-
     Case 8:23-ap-01046-SC         Doc 333 Filed 01/16/24 Entered 01/16/24 14:28:15       Desc
                                     Main Document Page 3 of 3



1    Evidentiary Objections to the Declaration of Bradford Lee and Alex Rubin; and 2) The
2    Declaration of Han Trinh All of Which Are In Violation of This Court’s Order; and Grant
3    Leave to File This Sur-Reply and Supporting Supplemental Declaration of Bradford Lee
4    [Dk. 331] (“Ex Parte Application”). As the Motion is continued, and the Trustee has been
5    provided with additional time to respond, the relief sought by the Trustee in the Ex Parte
6    Motion is hereby DENIED without prejudice.
7          The January 17, 2024, 11:00 am hearing is hereby VACATED and CONTINUED
8    to February 28, 2024, at 11:00 am and the Trustee’s Ex Parte Application is hereby
9    DENIED without prejudice.
10         IT IS SO ORDERED.
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25        Date: January 16, 2024

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